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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LAKESHA HUDSON,                                  :      CIVIL ACTION

                vs.                          :

INSOMNIA COOKIES, LLC.                       :          NO. 17-04959

                                            ORDER


               AND NOW, TO WIT: This 23rd day of April, 2018,
it having been reported that the issues between the parties in the above action has been settled
and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of
Civil Procedure of this Court, it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.

                                                     KATE BARKMAN, Clerk of Court


                                                     BY: /s/ Katie Rolon
                                                         Katie Rolon
                                                         Civil Deputy Clerk

Copies Emailed on 4/23/18 to:
 Carley Doyle, Esq.
 Richard S. Swartz, Esq.
 Carianne P. Torrissi, Esq.


Civ 2 (7/83)

41.1(b)
